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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


 In Re: Oil Spill by the Oil Rig “Deepwater         *      MDL NO. 2179
    Horizon” in the Gulf of Mexico, on April        *
    20, 2010                                        *      SECTION J
                                                    *
 This document relates to all actions.              *
                                                    *      HONORABLE CARL J.
                                                    *      BARBIER
                                                    *
                                                    *      MAGISTRATE JUDGE
                                                    *      SHUSHAN
                                                    *

 Bon Secour Fisheries, Inc., et al., on behalf of   *      Civil Action No. 12-970
 themselves and all others similarly situated,      *
                                                    *      SECTION J
   Plaintiffs,                                      *
                                                    *
 v.                                                 *      HONORABLE CARL J.
                                                    *      BARBIER
 BP Exploration & Production Inc.; BP               *
 America Production Company; BP p.l.c.,             *      MAGISTRATE JUDGE
                                                    *      SHUSHAN
      Defendants.                                   *



    [REVISED PROPOSED] ORDER (1) GRANTING PRELIMINARY APPROVAL OF
ECONOMIC AND PROPERTY DAMAGE CLASS ACTION SETTLEMENT, (2) GRANTING
  INTERIM CLASS COUNSEL’S MOTION FOR CONDITIONAL AND PRELIMINARY
      CERTIFICATION OF ECONOMIC AND PROPERTY DAMAGES CLASS FOR
     SETTLEMENT PURPOSES; APPOINTMENT OF CLASS REPRESENTATIVES;
            AND APPOINTMENT OF CLASS COUNSEL; (3) APPOINTING
CLAIMS ADMINISTRATOR AND CLAIMS VENDORS; (4) APPOINTING GUARDIAN AD
  LITEM; (5) APPROVING AND ISSUING PROPOSED CLASS ACTION SETTLEMENT
              NOTICE PLAN; (6) APPROVING SETTLEMENT TRUST;
                  AND (7) SCHEDULING A FAIRNESS HEARING

         Now before the Court are (A) Plaintiffs’ Steering Committee and BP Defendants’

 Motions for (1) Preliminary Approval of Economic and Property Damage Class Action

 Settlement, (2) Scheduling a Fairness Hearing, (3) Approving and Issuing Proposed Class Action

 Settlement Notice, and (4) BP’s Motion for Adjourning The Limitation and Liability Trial and
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associated papers (Rec. Doc. 6266);1 (B) Interim Class Counsel’s Motion for Conditional and

Preliminary Certification of Economic and Property Damages Class for Settlement Purposes;

Appointment of Class Representatives; and Appointment of Class Counsel (Rec. Doc. 6269); and

(C) Interim Class Counsel’s and BP’s Joint Supplemental Motion Related to the Economic and

Property Damages Settlement.

        WHEREAS, individual and representative Plaintiffs, on behalf of themselves and the

proposed Economic and Property Damages Settlement Class (the “Class”), and Defendants the

BP Parties, as defined in the Settlement Agreement, all acting by and through their respective

counsel (the “Parties”), have agreed to seek Court approval, following notice to the Class and a

hearing, for the resolution of this litigation upon the terms and conditions specified in the

Settlement Agreement, under the procedure and criteria for approval of class action settlements

set forth in Rule 23(e) of the Federal Rules of Civil Procedure,

        NOW, THEREFORE, based upon (i) the Settlement Agreement; (ii) the supporting briefs

and papers including the Interim Class Counsel’s and BP’s Joint Supplemental Motion Related

to the Economic and Property Damage Settlement; (iii) the proposed forms of Class Notice; (iv)

the program for directing notice to the Class submitted to the Court; (v) this Court’s familiarity

with the questions of fact and law arising in these proceedings; (vi) this Court’s observation of

the conduct of counsel for the parties in prosecuting and defending this litigation, coordinating

discovery, preparing for trial, and negotiating at arm’s length a proposed settlement with the

participation of Magistrate Judge Shushan; (vii) the recommendations of counsel for the moving

parties; (viii) the requirements of substantive and procedural law; and (ix) this Court’s

satisfaction that the proposed settlement appears to fall within the range of possible final

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    The Court notes that BP’s request concerning the adjournment of the Limitation and Liability trial has been
    mooted by the Order specifying that this matter will be taken up during the May 3, 2012, in-chambers
    conference with Liaison Counsel. (Rec. Doc. 6310.)

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approval, and that a hearing should be held after the best practicable notice to members of the

Class to finally determine if the terms of the proposed Settlement are fair, reasonable, and

adequate within the meaning of Fed. R. Civ. P. 23(e),

            THE FOREGOING MOTIONS ARE GRANTED, AND IT IS HEREBY ORDERED

AND DECLARED THAT:

I.          Jurisdiction and Venue

            1.       The Court has jurisdiction over these proceedings pursuant to 28 U.S.C. §§ 1331

                     & 1333, and 33 U.S.C. § 2717(b).

            2.       Venue is also proper in this District pursuant to 28 U.S.C. §§ 1391 & 1407, and

                     33 U.S.C. § 2717(b).

II.         Preliminary and Conditional Certification of Class for Settlement Purposes Only

            3.       On a preliminary basis and for settlement purposes only, for purposes of enabling

                     and effectuating the issuance of notice and setting of a formal hearing to

                     determine whether the terms of the proposed Settlement Agreement should be

                     finally approved as fair, reasonable, and adequate, the proposed Economic and

                     Property Damages Settlement Class is conditionally certified under Federal Rule

                     of Civil Procedure 23(a) & 23(b)(3). The class is defined as follows:

      (a)        CLASS DEFINITION2

            Economic and Property Damages Settlement Class shall mean the NATURAL
            PERSONS and ENTITIES defined in this Section 1, subject to the EXCLUSIONS in
            Section 2 below. If a person or entity is included within the geographical descriptions in
            Section 1.1 or Section 1.2, and their claims meet the descriptions of one or more of the
            Damage Categories described in Section 1.3, that person or entity is a member of the
            Economic and Property Damages Settlement Class, unless the person or entity is
            excluded under Section 2:

2
  The Class Definition includes certain capitalized defined terms, the meaning of which is given in the Deepwater
Horizon Economic and Property Damages Settlement Agreement. Exhibits referenced in the above definition are
included as exhibits to the Settlement Agreement. Exhibits 22 and 23 are also reproduced as Appendixes A and B,
respectively, to this Order.

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         1.1. Individuals. Unless otherwise specified, all Natural Persons residing in
         the United States who, at any time between April 20, 2010 and April 16, 2012,
         lived in, worked in, were offered and accepted work in, owned or leased real or
         personal property located within, or owned or leased or worked on a vessel
         harbored or HOME PORTED in the States of Louisiana, Mississippi, or Alabama,
         the counties of Chambers, Galveston, Jefferson and Orange in the State of Texas,
         or the counties of Bay, Calhoun, Charlotte, Citrus, Collier, Dixie, Escambia,
         Franklin, Gadsden, Gulf, Hernando, Hillsborough, Holmes, Jackson, Jefferson,
         Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa, Pasco, Pinellas, Santa
         Rosa, Sarasota, Taylor, Wakulla, Walton and Washington in the State of Florida,
         including all adjacent Gulf waters, bays, estuaries, straits, and other tidal or
         brackish waters within the States of Louisiana, Mississippi, Alabama, or those
         described counties of Texas or Florida (the “GULF COAST AREAS”) (Exhibit
         22), or the U.S. waters of the Gulf of Mexico and all adjacent bays, estuaries,
         straits, and other tidal or brackish waters within the Gulf Coast Areas, as
         specifically shown and described in Exhibit 23 (“SPECIFIED GULF WATERS”),
         or worked on a vessel in Specified Gulf Waters after April 20, 2009. With respect
         to SEAFOOD CREW Claims, persons must have worked on a vessel that landed
         SEAFOOD in the Gulf Coast Areas after April 20, 2009.

         and

         1.2.   Entities. All Entities doing business or operating in the Gulf Coast Areas
         or Specified Gulf Waters that:

                1.2.1. at any time from April 20, 2010 to April 16, 2012, owned,
                operated, or leased a physical facility in the Gulf Coast Areas or Specified
                Gulf Waters and (A) sold products in the Gulf Coast Areas or Specified
                Gulf Waters (1) directly to CONSUMERS or END USERS of those
                products or (2) to another Entity that sold those products directly to
                Consumers or End Users of those products, or (B) regularly purchased
                Seafood harvested from Specified Gulf Waters in order to produce goods
                for resale;

                1.2.2. are service businesses with one or more full-time employees
                (including owner-operators) who performed their full-time services while
                physically present in the Gulf Coast Areas or Specified Gulf Waters at any
                time from April 20, 2010 to April 16, 2012; or

                1.2.3. owned, operated, or leased a vessel that (1) was Home Ported in
                the Gulf Coast Areas at any time from April 20, 2010 to April 16, 2012, or
                (2) landed Seafood in the Gulf Coast Areas at any time from April 20,
                2009 to April 16, 2012; or

                1.2.4. owned or leased REAL PROPERTY in the Gulf Coast Areas at
                any time from April 20, 2010 to April 16, 2012;

         1.3.   Individuals and Entities who meet the geographical descriptions of
                Sections 1.1 or 1.2 above are included in the Economic Class only if their
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              Claims meet the descriptions of one or more of the Damage Categories
              described below.

              1.3.1. The following are summaries of the Damage Categories, which are
              fully described in the attached Exhibits 1A-15:

                 1.3.1.1.   Seafood Compensation Program. Damages suffered by a
                 COMMERCIAL FISHERMAN, Seafood Crew, or SEAFOOD
                 VESSEL OWNER that owned, operated, leased or worked on a vessel
                 that (1) was Home Ported in the Gulf Coast Areas at any time from
                 April 20, 2010 to April 16, 2012, or (2) Landed Seafood in the Gulf
                 Coast Areas at any time from April 20, 2009 to April 16, 2012; and
                 damages suffered by, inter alia, OYSTER LEASEHOLDERS and IFQ
                 Owners. (Exhibit 10). Claims for Economic Damage arising from the
                 fishing, processing, selling, catching, or harvesting of menhaden (or
                 “pogy”) fish are excluded from the Seafood Compensation Program
                 and other Economic Damage Claims under this Agreement.

                 1.3.1.2.   Economic Damage Category. Loss of income, earnings or
                 profits suffered by Natural Persons or Entities as a result of the
                 DEEPWATER HORIZON INCIDENT, subject to certain Exclusions.
                 (Exhibits 16-19)

                 1.3.1.3. Subsistence Damage Category. Damages suffered by
                 Natural Persons who fish or hunt to harvest, catch, barter, consume or
                 trade Gulf of Mexico natural resources, including Seafood and GAME,
                 in a traditional or customary manner, to sustain their basic or family
                 dietary, economic security, shelter, tool or clothing needs, and who
                 relied upon subsistence resources that were diminished or restricted in
                 the geographic region used by the CLAIMANT due to or resulting
                 from the Deepwater Horizon Incident. (Exhibit 9)

                 1.3.1.4.  VoO Charter Payment Category. Damages suffered by
                 Natural Persons or Entities who registered to participate in BP’s
                 Vessels of Opportunity (“VoO”) program and executed a VoO
                 MASTER VESSEL CHARTER AGREEMENT with BP, Lawson,
                 USMS, USES, DRC, or any other BP subcontractor as CHARTERER,
                 and completed the initial VoO training program.

                 1.3.1.5.   Vessel Physical Damage Category. Physical damage that
                 was sustained by an eligible Claimant’s eligible vessel due to or
                 resulting from the Deepwater Horizon Incident or the Deepwater
                 Horizon Incident response cleanup operations, including the Vessels of
                 Opportunity Program. (Exhibit 14)

                 1.3.1.6.    Coastal Real Property Damage Category. Damages alleged
                 by a Coastal Real Property Claimant that meet the requirements set
                 forth in the Coastal Real Property Claim Framework.

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                 1.3.1.7.   Wetlands Real Property Damage Category. Damages
                 alleged by a Wetlands Real Property Damage Claimant that meet the
                 requirements set forth in the Wetlands Real Property Claim
                 Framework.

                 1.3.1.8.    Real Property Sales Damage Category. Damages alleged
                 by a Real Property Sales Claimant that meet the requirements set forth
                 in the Real Property Sales Framework.

                 1.3.1.9.    Individuals/Employees in Otherwise Excluded Oil and Gas,
                 Gaming, Banking, Insurance, Funds, Defense Contractors, Developers
                 Industries, and any Entity selling or marketing BP-branded fuel
                 (including jobbers and branded dealers): As more fully described in
                 Exhibit 16 and Section 5.10 below, individuals and employees of
                 businesses and employers in these otherwise excluded industries
                 described in Section 2 may submit Claims for Economic Damage
                 outside of these excluded industries, and may pursue all other recovery
                 permitted under other aspects of the Settlement.

                 1.3.1.10. Individuals/Employees in Support Services to Oil and Gas
                 Industry: As more fully described in Exhibit 16 and Section 5.10
                 below, individuals and employees of businesses/employers in the
                 SUPPORT SERVICES TO OIL AND GAS INDUSTRY, described in
                 Exhibit 16 may submit Claims for Economic Damage incurred as a
                 result of their employment in the Support Services to Oil and Gas
                 Industry for (i) non-moratoria business interruption from Support
                 Services to Oil and Gas Industry activities and (ii) non oil and gas
                 industry Economic Damages due to or resulting from the Deepwater
                 Horizon Incident, except for moratoria claims. As is also more fully
                 described in Exhibit 16, these individuals and employees may also
                 pursue Claims for other Economic Damage outside the Support
                 Service to Oil and Gas Industry, and may pursue all other recovery
                 permitted under other aspects of the Settlement.

                 1.3.1.11. Businesses/Employers in Otherwise Excluded Gaming,
                 Banking, Insurance, Funds, Defense Contractors and Developers
                 Industries: As more fully described in Exhibit 16 and Section 5.10
                 below, businesses and employers in these otherwise excluded
                 industries described in Section 2 may submit Claims only for Coastal
                 Real Property Damage and Wetlands Real Property Damage, but are
                 not entitled to recover under any other aspect of the Settlement.

                 1.3.1.12. Businesses/Employers in Support Services to Oil and Gas
                 Industry: As more fully described in Exhibit 16 and Section 5.10
                 below, businesses and employers in the “Support Services to Oil and
                 Gas Industry,” described in Exhibit 16, may submit Claims for (i) non-
                 moratoria business interruption from Support Services to Oil and Gas
                 Industry activities and (ii) non-oil and gas industry Economic

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                    Damages arising out of, due to, resulting from, or relating in any way
                    to, directly or indirectly, the Deepwater Horizon Incident, except for
                    moratoria claims, and may pursue all other recovery permitted under
                    other aspects of the Settlement.

  (b) Exclusions from the Economic and Property Damages Settlement Class Definition

                2.1.    Notwithstanding the above, the following individuals and Entities,
                including any and all of their past and present predecessors, successors,
                personal representatives, agents, trustees, insurers, reinsurers, indemnitors,
                subrogees, assigns, and any other Natural Person, legal or juridical person
                or Entity entitled to assert any Claim on behalf of or in respect of any such
                individual or Entity in their respective capacities as such are excluded
                from the Economic Class.

                2.2.   Excluded Individuals or Entities:

                       2.2.1. Any Economic Class Member who or which timely elects
                       to be excluded from the Economic Class under the deadlines and
                       procedures to be set forth in the ECONOMIC AND PROPERTY
                       DAMAGES SETTLEMENT CLASS ACTION SETTLEMENT
                       NOTICE.

                       2.2.2. Defendants in MDL 2179, and individuals who are current
                       employees, or who were employees during the CLASS PERIOD,
                       of BP or other defendants in MDL 2179.

                       2.2.3. The Court, including any sitting judges on the United States
                       District Court for the Eastern District of Louisiana, their law clerks
                       serving during the pendency of the MDL, and members of any
                       such judge’s or current law clerk’s immediate family.

                       2.2.4. The following exclusions are based on the substantive
                       nature of the business, not the legal or juridical form of that
                       business. Any of the following types of Entity, or any Natural
                       Person to the extent he or she alleges Economic Damage based on
                       their employment by such an Entity, during the Class Period are
                       excluded:

                               2.2.4.1. Financial Institutions as identified in the NAICS
                               codes listed on Exhibit 18, which include, by way of
                               example, commercial banks; savings institutions; credit
                               card issuers; credit insurers; factors or other sales finance
                               entities; financial or investment advisers or portfolio
                               managers; fund managers; investment banking entities;
                               lending institutions; real estate mortgage or lending
                               entities; brokers or dealers of securities, commodities,
                               commodity contracts or loans; securities or commodities
                               exchanges; entities serving as custodians, fiduciaries or
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                          trustees of securities or other financial assets; or entities
                          engaged in other financial transaction intermediation,
                          processing, reserve or clearinghouse activities, provided,
                          that the following shall not be excluded solely pursuant to
                          this Section 2.2.4.1 unless they are subject to a different
                          exclusion: stand-alone ATMs, credit unions, pawn shops,
                          businesses engaged predominantly in making payday loans
                          or paycheck advances and businesses that sell goods and
                          services and offer financing on these purchases to their
                          customers.

                          2.2.4.2. Funds, Financial Trusts, and Other Financial
                          Vehicles, as identified in the NAICS codes listed on
                          Exhibit 18, after giving effect to the bracketed exceptions
                          contained in NAICS Codes 525920 and 523991, which
                          include by way of example, public-open end investment
                          funds; investment funds; real estate investment trusts;
                          REMICS; mutual funds; money market funds; derivatives;
                          health and welfare funds; insurance funds; pension funds;
                          financial trusts; and special purpose financial vehicles
                          provided, that successions, estates, testamentary trusts,
                          trusts of Natural Persons, bankruptcy estates, limited
                          liability companies, corporations, Sub-Chapter “S”
                          corporations, partnerships, limited partnerships, joint
                          ventures, and any other businesses or juridical Entities,
                          shall not be excluded pursuant to this Section 2.2.4.2 solely
                          by reason of their form of legal or juridical structure or
                          organization, except to the extent they are excluded
                          pursuant to another exclusion in Section 2.2 of this
                          Agreement.

                          2.2.4.3. Gaming, as identified in the NAICS codes listed
                          on Exhibit 18, which includes, by way of example,
                          casinos; casino hotels; off-track betting parlors; racetracks
                          and other gambling establishments provided, that the
                          following shall not be excluded solely pursuant to this
                          Section 2.2.4.3 unless they are subject to a different
                          exclusion: (a) bingo parlors, and (b) video gaming at bars,
                          bingo parlors, hotels, off-track betting parlors, racetracks,
                          restaurants and truck stops.

                          2.2.4.4. Insurance Entities, as identified in the NAICS
                          codes listed on Exhibit 18, which include, by way of
                          example, insurance carriers issuing disability, health, life,
                          medical, property and casualty, title or other insurance;
                          reinsurers;  insurance     agencies    and      brokerages;
                          underwriting agencies or organizations; claims adjusters


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                          and processors; third-party insurance or fund
                          administrators; or other insurance-related businesses.

                          2.2.4.5. Oil and Gas Industry, as identified in the NAICS
                          codes listed on Exhibit 17, which includes by way of
                          example, firms engaged in: extracting crude petroleum,
                          natural gas or other hydrocarbons; drilling wells; preparing,
                          maintaining or constructing petroleum or natural gas well-
                          sites or other mineral extraction sites; mining; maintaining
                          or constructing petroleum or natural gas pipeline or
                          distribution facilities; pipeline distribution of crude
                          petroleum, refined petroleum, oil or natural gas; petroleum
                          or natural gas refining or other mineral refining and/or
                          manufacturing; manufacturing petroleum lubricating oil
                          and grease, petrochemical products, or other petroleum and
                          coal products or chemical products derived from extracted
                          minerals; merchant wholesaling of construction and mining
                          (except oil well) machinery and equipment; wholesale
                          distribution of oil well machinery, equipment and supplies;
                          wholesale distribution of petroleum, petroleum products,
                          other extracted minerals, chemical products produced from
                          extracted or refined minerals, petroleum bulk stations and
                          terminals, petroleum and petroleum products merchant
                          wholesalers.

                          2.2.4.6. Defense Contractors/Subcontractors, including
                          firms which derive in excess of at least 50% of their annual
                          revenue from contracts with the United States Department
                          of Defense and Individuals whose employer qualifies as a
                          Defense Contractor.

                          2.2.4.7. Real Estate Developers, including any Natural
                          Person or Entity that develops commercial, residential or
                          industrial properties. This includes, but is not limited to,
                          any Entity developing an entire subdivision (as defined by
                          the law of the state in which the parcel is located) of Real
                          Property, including condominiums with multiple residential
                          units and/or a residential subdivision with contiguous home
                          sites and homes, provided, however, that Real Estate
                          Developers shall be eligible to assert Coastal Real Property
                          Claims under Section 5.7 and Real Property Sales Damage
                          Claims under Section 5.9

                          2.2.4.8. Any Entity selling or marketing BP-branded fuel,
                          including jobbers and branded dealers.




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               2.2.5. GOVERNMENTAL ORGANIZATIONS, as defined in this Agreement,
               provided that Native American tribal Entities may consent to participate in the
               Settlement as to otherwise eligible Claims.

               2.2.6. Any Natural Person or Entity who or that made a claim to the GCCF, was
               paid and executed a GCCF RELEASE AND COVENANT NOT TO SUE,
               provided, however, that the execution of a GCCF Release and Covenant Not to
               Sue shall not prevent a Natural Person or Entity from making a VoO Charter
               Payment Claim or a Vessel Damage Claim, nor shall a release covering only
               bodily injury prevent a Natural Person from making Claims under this
               Agreement.

       4.      With respect to the Economic Class Definition, the Court hereby adopts the

defined terms and definitions set forth in the Economic and Property Damages Settlement

Agreement. The Settlement Agreement and its Exhibits shall be provided to potential class

members via the Notice Plan, such as by posting on the Settlement website.

       5.      The Court preliminarily and conditionally finds, for settlement purposes only, that

the terms of the Settlement Agreement are sufficiently fair, reasonable, adequate, and consistent

with governing law to warrant: (a) preliminary approval; (b) the preliminary and conditional

certification of the settlement class; (c) the scheduling of the Fairness Hearing; and (d) the

distribution of Notice to the Class.

       6.      The Court is satisfied for preliminary purposes that a settlement class made up of

persons or entities having claims in the specified categories should be conditionally certified.

The Court is further satisfied that, pursuant to the proposed terms of the Settlement Agreement,

Class Members who opt out or who possess reserved claims will be able to pursue those claims

effectively outside the Class Settlement.

       7.      Specifically, this Court finds and holds that the Economic Loss and Property

Damage Settlement Class satisfies the following requirements of class action case law, Federal

Rule of Civil Procedure Rule 23(a), and Federal Rule of Civil Procedure 23(b)(3):

               (a) Ascertainability: The Class, as defined above, is discrete and ascertainable. It
                   is objectively defined by reference to geographical boundaries and other

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            criteria that are known to or knowable by Class Members, and by detailed
            compensation frameworks that include eligibility criteria, such that those
            within the geographical bounds of the Class can determine whether they have
            experienced any of the categories of cognizable injury that are payable under
            the Settlement Agreement and that qualify them for Class membership.

         (b) Numerosity: The Economic Loss and Property Damage Class consists of
             more than one-hundred thousand individuals and businesses dispersed across
             the Gulf Coast that either (1) have already filed short-form joinders; (2) have
             claims pending before the Gulf Coast Claims Facility (“GCCF”); or (3) were
             harmed by the Deepwater Horizon spill but have not filed a claim. The class
             is so numerous that joinder is impractical. Hence, Rule 23(a)(1)’s numerosity
             requirement is satisfied.

         (c) Commonality: The commonality requirement is satisfied because members of
             the Class share numerous common legal and factual questions, the resolution
             of which would advance the determination of one or more issues in the case.
             See Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620, 625 (1999).
             Common factual issues include (1) BP’s share of liability compared to other
             defendants, (2) the facts of BP’s conduct in designing the well, and (3) the
             facts of BP’s conduct in seeking to control and contain the spill. The answers
             to such questions are the same no matter who in the Class asks them, or how
             many times they are asked. Common legal issues arising under federal law
             include (1) preemption questions regarding the Outer Continental Shelf Lands
             Act, the Clean Water Act, and federal maritime law; (2) statutory construction
             issues under each of these statutes, including the standard of causation that
             applies under the Oil Pollution Act, and (3) questions under federal maritime
             law, including the standard under which punitive damages are available. The
             questions are capable of classwide resolution, and the answers to these
             common questions are both critical to the litigation and have shaped the terms
             and conditions of the proposed Settlement. Accordingly, Rule 23(a)(2)’s
             commonality requirement is satisfied.

         (d) Typicality: The claims of the Class Representatives are typical of the claims
             of the Class. The Class Representatives’ claims arise from the same
             underlying event and course of conduct; the Class Representatives share the
             same federal legal theories as the claims of the Class Members; and the Class
             Representatives include at least one representative asserting each category of
             loss covered by the proposed Settlement. Typicality “focuses on the similarity
             between the named plaintiffs’ legal and remedial theories and the theories of
             those whom they purport to represent.” Mullen v. Treasure Chest Casino,
             LLC, 186 F.3d 620, 625 (5th Cir. 1999).                 In addition, the Class
             Representatives will advance the interests of all Class Members. Rule
             23(a)(3)’s typicality requirement is therefore satisfied.

         (e) Adequacy:      “Rule 23(a)(4) is satisfied where: (1) the named plaintiffs’
             counsel will prosecute the action zealously and competently; (2) the named
             plaintiffs possess a sufficient level of knowledge about the litigation to be

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            capable of taking an active role in and exerting control over the prosecution of
            the litigation; and (3) there are no conflicts of interest between the named
            plaintiffs and the absent class members.” Hamilton v. First Am. Title Ins. Co.,
            266 F.R.D. 153, 163-64 (N.D. Tex., 2010); see also Feder v. Elec. Data Sys.
            Corp., 429 F.3d 125, 129 (5th Cir. 2005). Here, the Class Representatives
            have been consulted and participated in the determination of the settlement
            terms, will fairly and adequately protect the interests of the Class, have no
            conflicts with each other, and are represented by qualified counsel who are
            competent to represent the Class and prosecute this litigation. The Class
            Counsel regularly engage in complex litigation similar to the present case and
            have demonstrated their dedication by devoting substantial effort, energy, and
            resources to the prosecution of this action. See Stimson v. Exxon Corp., 280
            F.3d 554, 563 (5th Cir. 2002). Accordingly, Rule 23(a)(4)’s adequacy
            requirement is met.

         (f) Predominance: This is, unlike most mast torts, a single-incident disaster,
             governed predominantly by a single body of federal law including OPA and
             uniform federal maritime law. Common factual and legal questions include
             liability for economic damages arising from the blowout of the MC252 Well
             and the sinking of the Deepwater Horizon. In the absence of settlement, as
             the design of Phase I of the Limitation and Liability Trial illustrates, liability
             would be determined predominately under a single body of federal statutory
             and/or common law. As noted above, there are dozens of legal and factual
             issues that are common to the class and the resolution of which will determine
             the liability of BP to the class in one proceeding. In contrast to these
             numerous common issues, the individual questions are few, and generally
             only concern issues of individual causation and damage calculation.
             Recognizing the significance of the common issues to this case long before a
             settlement was contemplated, the Court (1) stayed the resolution of all
             motions affecting only individual cases, see Pretrial Order 15 (Rec. Doc. 676),
             and (2) designed a phased trial structure in which the first three phases were
             allocated to the resolution of common issues, see Pretrial Order 41, as
             amended (Rec. Doc. 4083). The proposed Economic Class is sufficiently
             cohesive to warrant adjudication by representation. The claims are related,
             cohesive, and all arise out of the same nucleus of operative fact. See Amchem
             Prods. v. Windsor, 521 U.S. 591, 620-21 (1997); Sullivan v. DB Invs., Inc.,
             667 F.3d 273, 297, 338 (3d Cir. 2011) (en banc), cert. denied, Murray v.
             Sullivan, --- S. Ct. ----, No. 11-1111, 2012 WL 779996 (U.S. Apr. 2, 2012).
             Accordingly, Rule 23(b)(3)’s predominance requirement is satisfied.

         (g) Superiority: This Court need not decide whether a class is superior from the
             standpoint of trial management, nor need the parties agree or concede on this
             point. When confronted with a “request for settlement-only class certification,
             a district court need not inquire whether the case, if tried, would present
             intractable management problems . . . for the proposal is that there be no
             trial.” Amchem, 521 U.S. at 620 (citation omitted); Billitteri v. Sec. Am., Inc.,
             2011 WL 3586217, at *8 (N.D. Tex. Aug. 4, 2011); In re Chinese-
             Manufactured Dry Wall Prods., Liab. Litig., 2012 WL 92498 (E.D. La. Jan.

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                   10, 2012). Moreover, this is a classic case for class treatment, as the litigation
                   is unusually complex and expensive, and it involves many thousands of
                   plaintiffs whose claims arise from the same event, many with comparatively
                   modest claims. Class treatment therefore allows many plaintiffs to recover
                   who might otherwise be unable to do so. Moreover, a settlement that provides
                   a comprehensive, court-supervised, and internally consistent mechanism for
                   compensating plaintiffs is superior to many thousands of separate
                   determinations of damages. The litigation of these issues on a case-by-case
                   basis could give rise to disproportionate and undue expense and delay for the
                   Parties, and such piecemeal litigation would needlessly tax the resources of
                   the judiciary and the Parties. A class action procedure, with clearly defined
                   roles for the parties, their counsel, and the Court, and the due process
                   protections for absent class member claimants uniquely afforded by Rule 23,
                   is available here, and it is superior to other available methods for fairly and
                   efficiently resolving this controversy. Rule 23(b)(3)’s superiority requirement
                   is satisfied.

III.   Preliminary Approval of Class Action Settlement and Fairness Hearing

       8.      The Court preliminarily approves the Economic and Property Damages

Settlement Agreement filed with this Court on April 18, 2012 (Rec. Doc. 6276-1), as amended as

set forth in Interim Class Counsel’s and BP’s Joint Supplemental Motion Related to the

Economic and Property Damages Settlement, as fair, reasonable, adequate, entered in good faith,

free of collusion, and within the range of possible judicial approval.

       9.      The Court finds, upon its own observation and experience over the course of this

litigation, including monthly status conferences, weekly discovery conferences, extensive

pleadings and motion practice, the design, organization and scheduling of a multi-phase trial, and

the intensive discovery and preparation for these trial phases, that counsel for the Parties have

significant experience in litigating complex litigation and class actions in general, have

comprehensive knowledge of the issues in this litigation, and brought this experience and

information to bear in negotiating a settlement suited to the circumstances of this litigation.

       10.     The Parties engaged in a multi-month, extensive, arms-length settlement process,

free of collusion, and overseen by Magistrate Judge Shushan. The Parties engaged in substantial

discovery and motions practice to evaluate the merits of the claims and defenses and extensively

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investigated and analyzed the facts and legal issues surrounding those claims and defenses.

Pretrial discovery and trial preparation included approximately 311 depositions, the production,

review, and analysis of millions of documents; the retention and discovery of numerous

scientific, technical, and industry experts; and the extensive associated investigation and analyses

of the facts and legal issues surrounding relevant claims and defenses.

         11.   Over the course of these many months, the Parties’ counsel, assisted and informed

by experts and colleagues with specialized knowledge of various aspects of the litigation and the

array of claims categories, engaged in numerous and ongoing settlement discussions and

negotiation sessions, both in person and via telephone conference.          These activities were

conducted by the authorized representatives (including, for the Plaintiffs, Plaintiffs’ Co-

Liaison/Interim Class Counsel and many members of the Court-appointed PSC) and proceeded

without disrupting, delaying, or detracting from the Parties’ thorough trial preparations, under

the brisk and systematic trial preparation schedule set and maintained by this Court. During

these lengthy settlement negotiations, which commenced in February 2011 and continued for

more than one year, the Parties negotiated the detailed, complex, and carefully thought-out

claims categories and benefits of this settlement. Likewise, the Parties negotiated the precise

language and terms of the Settlement Agreement and Exhibits; the proposed administrative and

transition orders; the claims forms and procedures to enable Class members to make claims

under the settlement without delay; and the comprehensive Notice Plan to provide notice of the

settlement, the approval process, and the dates, deadlines, and options that are important to the

Class.

         12.   As part of these negotiations, the Parties, with the assistance of several types of

subject matter experts, engaged in an extensive analysis of various types of economic injuries

sustained by class members as a result of the Deepwater Horizon Incident. Based on this

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comprehensive analysis and investigation, counsel for the Parties had a solid basis for concluding

that the Settlement Agreement provides meaningful benefits for class members that may have

suffered economic losses as a result of the Deepwater Horizon Incident.

        13.    The Parties requested that this Court facilitate the transition from the GCCF to a

Court-Supervised program, negotiated the details of a transition process, and submitted these

processes to enable the Court to issue a series of Transition Orders commencing on March 8,

2012.   The transition processes described in these orders were designed by the Parties to

effectuate the directive of the Court that such transition take place without material interruption

or delay to the processing and payment of claims pending in the GCCF, and to effectuate as

seamless as practicable a transition to a Court-Supervised process. The Parties also designed,

and made preparations for the immediate establishment, staffing, and operation of a Court-

Supervised Settlement Program to commence delivery of the benefits of the settlement

immediately upon entry of this Order.

        14.    The comprehensive system of claims frameworks featured in the Settlement

Agreement is the product of many months of intensive negotiation, provides for class recovery

unlimited by any aggregate cap, does not constitute a limited fund to be divided among

competing claimants (with the sole exception of the $2.3 billion Seafood Compensation

Program, whose allocation was placed with a court-appointed neutral), and does not place class

members in conflict or competition with each other. The settlement thus provides “a procedure

for distribution of the settlement fund that treats class claimants equitably amongst themselves.”

In re Katrina Canal Breaches Litig., 628 F.3d 185, 189 (5th Cir. 2010). The Parties agreed that

claims may be made and paid under the terms of the Settlement Agreement without the

imprimatur of final settlement approval. This is an unusual and particularly beneficial feature of

the Settlement Agreement for Class Members, as is the provision that any Class Counsel fees and

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costs awarded by the Court will not be deducted from Class Members’ recoveries or their private

attorneys’ fees, but will be paid by BP in addition to other class benefits.

       15.     At this stage, the Settlement Agreement appears eminently fair, has no obvious

deficiencies, does not improperly grant preferential treatment to the Class Representatives or to

segments of the Class, and does not grant excessive compensation to attorneys. It plainly falls

within the range of possible judicial approval.          The Settlement Agreement thus merits

preliminary approval, particularly in light of the law collected in the MANUAL FOR COMPLEX

LITIGATION (FOURTH) §§ 21.612, 21.62, and 21.632.

       16.     This preliminary approval is subject to further and final consideration at a

Fairness Hearing (the “Fairness Hearing”), which shall be held at 8:30 a.m. on November 8,

2012, before this Court at Courtroom C268 of the United States District Court for the Eastern

District of Louisiana, 500 Poydras Street, New Orleans, Louisiana, 70130. The Class will be

provided notice of the date, time, place and purpose of the Fairness Hearing as set forth in the

Notice Plan approved and issued in connection with this Order. The Court may adjourn the

Fairness Hearing, as necessary, upon notice (e.g. via the Court and Settlement websites) to the

members of the Settlement Class.

       17.     At the Fairness Hearing, this Court will consider: (1) whether to grant final

approval of the Settlement Agreement pursuant to Rule 23(e) as fair, reasonable, adequate, and

in the best interests of the Class and to authorize all acts necessary to consummate and effectuate

the terms and conditions of the Settlement Agreement; (2) whether the Court should certify the

Class for settlement purposes only; (3) whether the Court should enter a Final Judgment

approving the Settlement and dismissing the Action with prejudice while retaining jurisdiction to

enforce the Final Judgment, Settlement Agreement, and any follow-on litigation, including

litigation concerning Individual Releases signed pursuant to the Settlement Agreement’s claims

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process; (4) whether the fees and expenses submitted by Class Counsel should be approved; (5)

the merits of any objections to the Settlement; and (6) such other matters as the Court may deem

necessary and appropriate.

       18.     In considering whether to grant final approval to the Settlement Agreement after

the Fairness hearing, the Court will review the six “Reed factors”:

               (1) [T]he existence of fraud or collusion behind the settlement;
               (2) the complexity, expense, and likely duration of the litigation;
               (3) the stage of the proceedings and the amount of discovery
               completed; (4) the probability of plaintiffs’ success on the merits;
               (5) the range of possible recovery; and (6) the opinions of the class
               counsel, class representatives, and absent class members.

Reed v. Gen. Motors, Corp., 703 F.2d 170, 172 (5th Cir. 1983) (citing Parker v. Anderson, 667

F.2d 1204, 1209 (5th Cir. 1982)); see also Union Asset Mgmt. Holding A.G. v. Dell, 669 F.3d

632, 639 (5th Cir. 2012); In re Katrina Canal Breaches Litig., 628 F.3d at 194; Newby v. Enron

Corp., 394 F.3d 296, 301 (5th Cir. 2004).

IV.    Appointment of Class Counsel, Class Representatives, Claims Administrator,
       Claims Administration Vendors, and Guardian Ad Litem.

       19.     The counsel previously appointed in Pretrial Order 46 (Rec. Doc. 4226) as

Plaintiffs’ Co-Liaison Counsel and Interim Class Counsel, Stephen J. Herman and James

Parkerson Roy, are hereby appointed as Lead Class Counsel.

       20.     The counsel previously appointed by the Court to serve on the Plaintiffs’ Steering

Committee and to serve the common benefit, as described in its Pretrial Orders Nos. 8, 9, and 46

(Rec. Docs. 506, 508, 4226), are hereby appointed to serve as Class Counsel for the Settlement

Class under Rules 23(e) and 23(g), and shall act on behalf of the Class Representatives and all

members of the Settlement Class:




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                Brian H. Barr                Rhon E. Jones
                Jeffery A. Breit             Matthew E. Lundy
                Elizabeth J. Cabraser        Michael C. Palmintier
                Philip F. Cossich, Jr.       Joseph F. Rice
                Robert T. Cunningham         Paul M. Sterbcow
                Alphonso Michael Espy        Scott Summy
                Calvin C. Fayard, Jr.        Mikal C. Watts
                Robin L. Greenwald           Conrad S. P. Williams
                Ervin A. Gonzalez


          21.   The Individuals and Entities identified as individual and representative Plaintiffs

in the Amended Class Action Complaint for Private Economic Losses and Property Damages

captioned Bon Secour Fisheries, Inc., et al. v. BP Exploration & Production Inc., et al., Civil

Action No. 12-970, filed herein on May 2, 2012 (Rec. Doc. 6412) are hereby appointed as the

Class Representatives of the conditionally certified Economic Class, for settlement purposes

only.

          22.   This Order is entered for the purposes of initiating, implementing, and facilitating

the procedures contained in Fifth Circuit law and those recommended in the MANUAL FOR

COMPLEX LITIGATION to give notice to the entire Class and proceed toward the Fairness Hearing,

to assist the Class Members in learning of their rights and options under the Settlement, and to

assist the Court in making its independent, informed, and final determination as to whether the

Settlement Agreement merits final approval and whether the Economic Class certification should

be confirmed under Rules 23(a), (b)(3), and (e), for the collective purpose of effectuating the

settlement. If this Settlement Agreement is terminated or is not consummated for any reason, the

foregoing certification of the Class and appointment of Class Counsel and Class Representatives

shall be vacated and of no further effect with respect to any party to, or claim asserted in, this

action.




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       23.     The Court appoints Patrick Juneau as Claims Administrator to oversee the Claims

Administration Vendor, which will process the claims, beginning without delay, in accordance

with the Settlement Agreement. The Court appoints Garden City Group, Inc., BrownGreer PLC,

PwC, and Postlethwaite & Netterville as Claims Administration Vendors. The Court previously

appointed Mr. Juneau and Lynn Greer of BrownGreer in connection with the Transition Process

established by a prior Order (Rec. Doc. 5995). Given their prior transitional appointments, Mr.

Juneau, Ms. Greer, and her firm, BrownGreer, are well-positioned to begin implementation of

the claims process established in the Settlement Agreement along with PwC and Postlethwaite &

Netterville, pending review of the Settlement Agreement in connection with the Fairness Hearing

to be held November 8, 2012.

       24.     This Court, BP, or Lead Class Counsel may request reports or information from

the Claims Administrator. The Claims Administrator shall be responsible for reporting and

providing information to the Court, BP, and Lead Class Counsel periodically, or at such

frequency and in such a manner as the Court directs.

       25.     This Court shall have ongoing and exclusive jurisdiction over the Claims

Administrator and Claims Administration Vendors and shall retain such jurisdiction through and

after the Settlement Agreement’s Effective Date, in the event it occurs.

       26.     The Honorable P. Raymond Lamonica, solely in his individual capacity, is

appointed as the Guardian Ad Litem for the Economic and Property Damages Settlement Class

Members who are minors, lack capacity, or are incompetent in accordance with Section 31 of the

Economic and Property Damages Settlement Agreement and subject to appropriate commercial

terms. Such appointment shall remain in effect until the entry of a Final Order and Judgment, if

that event occurs, or the date the Agreement terminates, whichever occurs first. By agreement of

the Parties, reasonable fees and costs of the Guardian Ad Litem shall be “Settlement Costs”

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within the meaning of the Settlement Agreement. See Settlement Agreement Section 5.12.1.1.3.

The Guardian Ad Litem’s duty in Section duty in Section 31.1 of the Settlement Agreement to

“investigate the potential claims for all persons who are minors or incompetent adults, who, but

for their lack of capacity, may otherwise participate as Economic Class Members” shall be

interpreted to mean that the Guardian Ad Litem shall inquire of existing minor or incompetent

claimants that the Guardian Ad Litem learns of whether they have any claims falling into any

Category covered by and not excluded from the Settlement Agreement.

       27.     The Guardian Ad Litem shall make an independent investigation into the terms

and provisions of the Economic Loss and Property Damage Settlement Agreement on behalf of

those class members who are minors, lack capacity, or are incompetent, as described in Section

31 of the Medical Benefits Settlement Agreement. Based on that investigation, prior to the

Fairness Hearing, the Guardian Ad Litem shall by October 8, 2012, report to the Parties and

make a recommendation to this Court as to the fairness of the Economic Loss and Property

Damages Settlement Agreement with respect to those class members who are minors, lack

capacity, or are incompetent.

       28.     The Court approves the Economic and Property Damages Trust Agreement

attached as Exhibit A to the parties’ memorandum in support of Interim Class Counsel’s and

BP’s Joint Supplemental Motion Related to the Economic and Property Damages Settlement, the

creation of the Economic and Property Damages Trust Agreement Settlement Trust (“Settlement

Trust”), and the appointment of Patrick Juneau as Trustee and J. P. Morgan Trust Company of

Delaware as Directed Trustee with limited authority as set forth in the Trust Agreement. The

Court also finds that the Settlement Trust fulfills the requirements for a qualified settlement fund

under section 468B(d)(2) of the Internal Revenue Code and Treasury Regulation § 1.468B-1.

The Court will retain continuing jurisdiction over the Settlement Trust.

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V.      Approval of Class Notice

        29.    The Court approves the form and content of the Economic Loss and Property

Damage Class Notice as attached to the Declaration of Cameron R. Azari, Esq. (Rec. Doc. 6266-

2) as well as the Economic and Property Damage Notice Plan described in same Exhibit, as

amended as set forth in Interim Class Counsel’s and BP’s Joint Supplemental Motion Related to

the Economic and Property Damages Settlement and Exhibit B thereto, as satisfying the

requirements of Federal Rules of Civil Procedure 23(c)(2)(B) and 23(e)(1), and due process.

        30.    The Economic Loss and Property Damage Settlement Class Notice clearly and

concisely states in plain, easily understood language: (i) the nature of the action; (ii) the

definition of the class certified; (iii) the class claims, issues, or defenses; (iv) that a class member

may enter an appearance through an attorney if the member so desires; (v) that the Court will

exclude from the class any member who requests exclusion; (vi) the time and manner for

requesting exclusion; and (vii) the binding effect of a class judgment on class members. See Fed.

R. Civ. P. 23(c)(2)(B).

        31.    The Notice Plan contemplates direct mailed notice to individual class members, to

the extent known, and their attorneys, to the extent known. In addition, the Notice Plan provides

for a broad-reaching published Notice in numerous national and local media, with a notice effort

covering the entire United States, primarily focusing on the main impact States of Louisiana,

Alabama, and Mississippi, and enumerated counties in Texas and Florida. Furthermore, banner

notice ads will appear on national and local web properties. A complete copy of the Settlement

Agreement with exhibits will be provided to any individuals or entities wishing to determine

whether they are class members and what their rights are under the Settlement Agreement.

There will also be a case website where potential class members can obtain additional

information and documents, including a list of frequently asked questions that will be regularly


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updated to provide useful information about the Settlement. This Notice Plan provides the best

notice practicable under the circumstances pursuant to Fed. R. Civ. P. 23(c)(2)(B).

       32.     In addition, the Court finds that the Notice and the Notice Plan comply with Fed.

R. Civ. P. 23(e)(1)’s requirement that the Court direct notice to Class Members in a reasonable

manner. The notice is reasonably calculated to inform interested parties of the pendency of the

settlement and afford them an opportunity to determine whether they are class members, seek all

relevant information about the Settlement Agreement, determine their rights under the Settlement

Agreement, and present their objections, if any.

       33.     In conclusion, the Court finds that the Economic Loss and Property Damage

Settlement Class Notice and the Economic Loss and Property Damage Settlement Class Notice

Plan will provide notice in a reasonable manner to all class members who would be bound by the

Economic Loss and Property Damage Settlement, including individual notice to all members

who can be identified through reasonable effort. The Economic Loss and Property Damage

Settlement Class Notice and the Economic Loss and Property Damage Settlement Class Notice

Plan constitute the best notice that is practicable under the circumstances.

       34.     This Court orders that the Class Notice shall be disseminated as set forth in the

Notice Plan.

       35.     The Court directs counsel for the Parties, no later than ten days before the date of

the Fairness Hearing, to file with the Court evidence that the Notice Plan has been carried out.

       36.     The Court appoints Hilsoft Notifications as the Class Notice Administrator to

implement the Class Notice and Class Notice Plan. This Court may, at its sole discretion,

request reports or information from the Notice Administrator. The Notice Administrator shall be

responsible for reporting and providing information to the Court at such frequency and in such

manner as the Court directs.

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       37.     This Court shall have ongoing and exclusive jurisdiction over the Class Notice

Administrator and shall retain such jurisdiction through and after the Settlement Agreement’s

Effective Date, in the event it occurs.

VI.    Procedures and Deadlines for Opting Out, Objecting, and Appearing at the Fairness
       Hearing

       38.     Any Economic Loss and Property Damage Class Member who wishes to exclude

himself, herself, or itself from the Class must submit a written exclusion request, following the

instructions in the Class Notice, which must be received by Garden City Group, properly

addressed and postmarked no later than October 1, 2012. All such written requests must be

signed by the Natural Person or Entity seeking to exclude himself, herself or itself from the

Class, but may be submitted by attorneys for such Natural Persons or Entities.

       39.     All Economic Loss and Property Damage Class Members who do not timely and

properly Opt Out shall, in all respects, be bound by all terms of this Agreement and the Final

Order and Judgment, shall be entitled to all procedural opportunities and protections described

herein and provided by the Court, and all compensation for which they qualify under its terms,

and shall be permanently and forever barred from commencing, instituting, maintaining or

prosecuting any action based on any Released Claim against any Released Parties in any court of

law or equity, arbitration tribunal, administrative proceeding, or other forum.

       40.     Any Economic Loss and Property Damage Class Member may present written

objections explaining why the Agreement should not be approved as fair, reasonable and

adequate; why attorneys’ fees and expenses to Economic Class Counsel should not be awarded

in the amounts requested; or why judgment should not be entered as to that Economic Loss and

Property Damage Class Member. Specifically, any Economic Class Member wishing to object

to any aspect of the Agreement must file a written statement of the objection(s) with the Court,

and serve same on Economic Loss and Property Damage Class Counsel and BP’s Counsel, by
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first-class mail, no later than August 31, 2012. The written statement of the objection(s) must

include (a) a detailed statement of the Economic Class Member’s objection(s), as well as the

specific reasons, if any, for each objection, including any evidence and legal authority the Class

Member has to support each objection and any evidence the Class Member has in support of

his/her/its objection(s); (b) the Economic Class Member’s name, address and telephone number;

(c) written proof that the individual or entity is in fact an Economic Loss and Property Damage

Class Member, such as proof of residency, ownership of property and the location thereof, and/or

business operation and the location thereof; and (d) any other supporting papers, materials or

briefs the Economic Class Member wishes the Court to consider when reviewing the objection.

Any Class Member who fails to comply with these provisions shall waive and forfeit any and all

rights to object to the Settlement Agreement, shall be forever foreclosed from making any

objection to it, and shall be bound by all the terms of the Settlement Agreement and by all

proceedings, orders and judgments in this matter.

       41.     Within ten days after the deadline for Class Members to request exclusion from

the Class, Class Counsel and Counsel for the Released Parties shall exchange a complete list of

all timely and valid requests for exclusion received as of that date.            This list may be

supplemented after the Fairness Hearing to the extent any additional timely and valid requests for

exclusion are submitted.

       42.     Any Economic Class Member may revoke his, her, or its Opt Out from the

Economic Class and thereby receive the benefit of this Economic and Property Damage

Settlement up until three (3) days prior to the Fairness Hearing; or later, if the BP Parties consent

in their sole and unilateral discretion as provided in Section 8.2.6 of the Settlement Agreement;

or otherwise, if the Court so orders on good cause shown.




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       43.     Upon entry of the Preliminary Approval Order, the statutes of limitation

applicable to any and all claims or causes of action that have been or could be asserted by or on

behalf of any Economic Class Member are hereby tolled and stayed. The limitations period shall

not begin to run again for any Economic Class Member unless and until (a) they Opt Out of the

Economic Class, or (b) they execute an Individual Release, or (c) the Agreement is terminated

pursuant to Court order.

VII.     Additional Directives

       44.     Nothing in this Order shall be construed or used as an admission, concession, or

declaration by or against any of the settling Parties: (1) as to the certification of any other class

in this or any other action for any purpose other than the effectuation of the proposed Settlement

Agreement; or (2) as to any fault, wrongdoing, breach, or liability. This Order shall not be

construed as a finding or conclusion of the Court with respect to the merit or lack of merit of any

claim asserted in this action or of any defense to any claim asserted in this action. Neither the

Settlement Agreement nor the Court’s orders issued in connection with consideration of the

Settlement, including this Order, shall be offered into evidence or used in this or any other action

for any purpose, including, but not limited to, the existence, certification, or maintenance of any

other class for any other purpose.

       45.     In no event shall the termination or non-consummation of the Settlement

Agreement affect the validity or finality of any Individual Releases signed by claimants

accepting payments from the Claims Administrator and Claims Administration Vendors pending

final fairness review and approval of the Settlement Agreement.           Pursuant to the Court’s

supplemental and ancillary jurisdiction to enforce and oversee its own orders, the Court assumes

and retains jurisdiction to enforce any Individual Releases signed by claimants accepting

payments from the Claims Administrator and Claims Administration Vendors pending final


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fairness review and approval of the Settlement Agreement. Additionally, if the Settlement

Agreement receives final approval after the Fairness Hearing, the Court intends to retain

jurisdiction over the enforcement of Individual Releases granted after the Effective Date as well.

       46.     Consistent with this Court’s supplemental and ancillary jurisdiction, the Court

explicitly retains continuing and exclusive jurisdiction over the Parties, the Economic Loss and

Property Damage Settlement Class Members, and the Settlement Agreement to interpret,

implement, administer, and enforce the Settlement Agreement in accord with its terms, including

with respect to the validity and finality of Individual Releases signed by Settlement Class

Members receiving settlement payments, during the period before the Fairness Hearing and final

review of the Settlement Agreement conclude.

       47.     Upon consummation and approval of the Settlement provided for in the

Settlement Agreement, the Settlement Agreement and each and every term and provision thereof

and exhibits thereto shall be deemed incorporated herein as if explicitly set forth and shall have

the full force and effect of an Order of this Court.

       48.     Upon motion of any Party, the Court may, for good cause, extend any of the

deadlines set forth in this Order, if necessary and appropriate, upon practicable notice to the

Class, such as on the Court and Settlement websites.

       ORDERED this _____ day of May 2012.



                                                         CARL J. BARBIER
                                                         UNITED STATES DISTRICT JUDGE




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                 Appendix A (Settlement Agreement Ex. 22)




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                 Appendix B (Settlement Agreement Ex. 23)




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